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                                                                USDC SDNY
UNITED STATES DISTRICT COURT                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                   ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                       DOC #: _________________
                                                                DATE FILED: 11/5/2020

              -against-
                                                                          20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                               ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

       On November 5, 2020, Defendant Shea filed a motion to transfer. ECF No. 44. By
November 12, 2020, the Government shall reply to this motion. The Government shall be
prepared to state its position on the motion at the status conference scheduled for November 9,
2020.

       SO ORDERED.

Dated: November 5, 2020
       New York, New York
